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                           EXHIBIT

                                   “B”
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                                    NO. DCCV16-356-349
   CITY OF PALESTINE                           IN THE DISTRICT COURT
   Plaintiff,
   v.                                              349TH JUDICIAL DISTRICT
   JERRY LAZA
   Defendant.                                       OF ANDERSON COUNTY, TEXAS
   JERRY LAZA
   Counter Plaintiff                                IN THE DISTRICT COURT
   v.
   CITY OF PALESTINE,                  349TH JUDICIAL DISTRICT
   MIKE ALEXANDER AND
   RONALD STUTES
   Counter-defendants                  OF ANDERSON COUNTY, TEXAS
        DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND
          DEFENDANT JERRY LAZA'S SECOND AMENDED COUNTERCLAIM,
   PRSERVATION OF COUNTERCLAIM, AND PETITION FOR RELIEF AND INVERSE
    CONDEMNATION AND VIOLATION OF TEXAS OPEN MEETINGS ACT, SEEKING
         DAMAGES, ALTERNATIVE DAMAGES AND DEMAND FOR JURY TRIAL

   1.    Defendant Jerry Laza asks the Court to order that discovery be conducted
         according to a Level 3 discovery-control plan tailored to the circumstances of the
         suit, as authorized by Texas Rule of Civil Procedure 190.4.
   2.    Defendant generally denies the allegations in plaintiff's first amended original
         petition.
   3.    Defendant designates James C. Mosser as Attorney in Charge and that he
         replaces all other attorneys so designated.
   4.    Defendant denies that plaintiff is entitled to recover in the capacity in which
         plaintiff sues.
   5.    There is a defect of the parties.
   6.    Defendant denies plaintiff's allegations that plaintiff gave notice and proof of
         plaintiff's claim.
   DEFENSES
   7.    Paragraphs 1-57 are incorporated herein, in haec verba.
   8.    Defendant is not liable to plaintiff because:
         a.     of an accord and satisfaction. Twenty years ago operated his business in
                the same fashion as he does today. Previously (twenty years ago) the
                plaintiff requested that Laza move to his present location and promised to


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              rezone his present property to operate his (Laza's) business in the same
              manner as he had in the past and continues to do today. The plaintiff also
              agreed to have some of the land designated as agricultural, in return for
              his move and relocation of his business to his present location. Laza
              agreed to the demands of the plaintiff and made the move and established
              his new business location as requested by the plaintiff. Some of the land
              was rezoned, Laza operates his business today in the same manner and
              fashion as he did 20 years ago, just as he agree to do, at the specific
              agreement of the plaintiff.
         b.    plaintiff's own acts or omissions proximately caused or contributed to
               plaintiff's alleged injuries. If defendant is found liable for damages,
               defendant intends to seek a reduction of damages under the
               proportionate-responsibility statute.
         c.    of duress. Twenty years ago, plaintiff engaged in threats of actions toward
               plaintiff without legal justification, by threatening to prosecute Laza and
               take Laza's land. The plaintiff's destroyed defendant's free agency, in that
               he was not of able to counter the threats made by the plaintiff and
               defendant's free agency was destroyed.
         d.    As a result of the plaintiff's threats and actions, defendant's free will was
               overcome, causing defendant to act in a manner that defendant would not
               otherwise have acted, and which defendant was not legally bound to do, in
               that he acquiesced to the demands of the plaintiff and accepted the
               relocation demanded by the plaintiff to his present location. Ten years
               later plaintiff began a series of prosecutions that ended in favor of Laza,
               now more than four years later the plaintiff is trying a new technique of
               intimidation and persecution.
         e.    Plaintiff's threats were imminent, in that they were planning to make
               criminal complaints against Laza, accordingly, defendant had no present
               means of protecting herself. Therefore, plaintiff's action is barred for
               duress.
         f.    More than four years ago, Plaintiff originally prosecuted Laza on these
               very same claims contained in this lawsuit, and Laza was aquitted by a
               jury; Plaintiff has now waited 10 years to falsely claim that Laza is in
               violation of the same charges he was acquitted of:
               i.     Plaintiff has claimed the same facts as previously tried to a jury,
                      and there has been an unreasonable delay in asserting a legal or
                      equitable right; and
               ii.    Based on the conduct and promises of the Plaintiff, Laza conducted
                      his business for the last 20 years in the same manner and in the

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                     same location he occupies today, and he has made a good faith
                     change of position to his detriment and he has acted in reliance
                     upon the delay by the plaintiff to act for more than the past 4 years.
        g.    of estoppel. Plaintiff, with full knowledge of the provisions of the law as it
              relates to home rule cities and its rights under those provisions, waives all
              rights whatsoever under its ordinances when it agrees to relocate and re-
              zone for the benefit of Laza when it forced Laza to relocate to his present
              location. Plaintiff agreed to allow Laza to continue operating his business
              as he did twenty years ago, when it demanded that he relocate. Plaintiff's
              claims are barred, in whole or in part, by estoppel. Plaintiff falsely
              represented to Defendant that he would be allowed to operate his
              business in the same manner and fashion at its present location as he did
              at its previous location. Plaintiff concealed from Defendant that plaintiff did
              not rezone all of Laza's property. Plaintiff's representations concealment
              concerned facts material to Laza's agreement to relocate and
              consequences of which Plaintiff now complains. Plaintiff had knowledge of
              the true facts or the means of obtaining such knowledge through due
              diligence and intended that Defendant act or refrain from acting in reliance
              on Plaintiff's representations and concealment. Defendant did, in fact, act
               or refrain from acting in reliance on Plaintiff's representations and
               concealment to Defendant's detriment.
         h.   of fraud. Prior to Laza's relocation to his present business address as
              alleged in plaintiff's petition, and in order to persuade defendant to enter
              into the agreement to relocate, plaintiff stated to defendant that the land
              would be re-zoned to accommodate Laza's business and that he would be
              permitted to continue operating in the same manner in the present location
              as he did in the previous location. The statements were a material
              misrepresentation in that the re-zoning was limited and subsequently the
              plaintiff began harassing Laza and filed criminal complaints against Laza
              for the very conduct that the Plaintiff has originally authorized. Plaintiff
              knew the statements were false when they were made. Plaintiff intended
              that defendant would act on the statement, and plaintiff did in fact act on
              the statements by relocating his business. As a result, defendant was
              injured in that by the plaintiff's conduct in restricting Laza's business
              activities and the plaintiff's criminal and civil prosecutions.
         i.    of laches. Plaintiff previously mar than 20 years ago allowed and insisted
               that Laza move to his present location, and agree that he could conduct
               business just as he has for more than 4 years, more than 4 years ago,
               plaintiff prosecuted claims against the defendant which were to a jury in
               which the defendant was found not guilty or the plaintiff dismissed the
               claims, and never prosecuted those claims again until it filed this lawsuit

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              on the same matters and issues, more than 6 years later; for the following:
              i.       Unlawfully allow large black animal to run at large 2005;
              ii.      Allow tall weeds over 18 inches to grow on his property;2003
              iii.     did not have a screening fence on his property 2003;
              iv.      failure to keep the property free from rubbish, trash , filth and other
                       impure or unwholesome matter 2006;
              v.       using his property as a junkyard or salvage yard 2006;
              vi.      Keeping of livestock within City of Palestine 2009;
               vii.    then and there allowed horse too be in City of Palestine 2007;
               viii.   allowed a donkey too be in City of Palestine 2007; (sic).
        j.     of waiver. Plaintiff previously prosecuted all claims contained in its
               amended petition and previously disposed of them by agreement, reached
               a settlement that the defendant has complied with, or the defendant was
               found not guilty of the same claims by a jury.
         k.    of consent. Plaintiff agreed to allow the defendant to continue to operate in
               the manner in which he is operating and the agreement was reached
               twenty years ago and again in the years of 2003-2007.
         I.    of ratification. Plaintiff agreed to allow the defendant to continue to operate
               in the manner in which he is operating and the agreement was reached
               twenty years ago and again in the years of 2003-2007.
         m.    Of counterclaim.
         n.    Defendant Laza has a pending claim before the City of Palestine Zoning
               Board related to the zoning and claim for damages, which displaces this
               court's jurisdiction. and
         o.    of res judicata. Plaintiff has previously tried these same cases and agreed
               to allow the defendant to continue to operate in the manner in which he is
               operating and the agreement was reached in the years of 2003-2007.
         p.    Plaintiff has failed to exhaust administrative remedies. Therefore, this
               cause brought by plaintiff is premature, and there is no issue ripe for
               determination in this court. Plaintiff's claims, if any, have been waived; and
               plaintiff is estopped from asserting the claims related to the application of
               the zoning regulations. Defendant is entitled to a reasonable time to
               respond to correspondence from the zoning board. The Plaintiff has not
               objected to the zoning application.


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   Plea to the Jurisdiction
   9.    The City of Palestine does not have standing to prosecute this lawsuit because it
         has not passed an ordinance permitting this litigation and lawsuit and Defendant
         Laza has a pending claim before the City of Palestine Zoning Board related to
         the zoning and claim for damages, which displaces this court's jurisdiction.
   Subject Matter Jurisdiction
   10.   The Court does not have Subject Matter Jurisdiction, because this is a matter
         pending before the zoning board of adjustment in the City of Palestine and it has
         not made a final determination and has not refused to pay compensation.
   Texas Rule of Civil Procedure 12
   11.   Paragraphs 1-57 are incorporated herein, in haec verba.
   12.   Under Tex. R. Civ. P. 12, the plaintiff is required to show its authority to
         prosecute this lawsuit and it has not passed an ordinance of authorization related
         to this lawsuit.
   13.   The attorneys (Ron Stutes or James Hankins) representing the plaintiff in this
         matter do not have the requisite authority by ordinance or resolution to prosecute
         the claims.
   14.   The City Administrator has not been provided the requisite authority by ordinance
         or resolution to hire any attorney to prosecute this lawsuit.
   Special Exceptions
   15.   Jerry Laza specially excepts to Plaintiff's Second Amended Original Petition and
         Request for Temporary and Permanent Injunctions and asks the Court to order
         plaintiff to replead specificity, to give defendant notice of the plaintiff claims and
         cure its pleading defects.
   16.    Defendant specially excepts to paragraphs 8 and 11, because plaintiff's pleading
          does not give fair notice of plaintiff's claim.
         a.     Paragraph 8, claims that there are violations of the Palestine City Code,
                but fails to attach the subject Palestine Zoning Ordinance(s) as claimed,
                neither does the plaintiff identify how the subject properties are being used
                as a junkyard or salvage yard, and fails to plead with sufficient specificity
                to identify the specific acts that violate the subject Palestine Zoning
                Ordinance(s) so that defendant may identify the alleged violations or if any
                exist.. Jerry Laza specially excepts to Plaintiff's First Amended Original
                Petition and Request for Temporary and Permanent Injunctions and asks
                the Court to order plaintiff to replead specificity, to give defendant notice of
                the plaintiff claims and cure its pleading defects.

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         b.    Paragraph 11, claims to identify persons and property other than the
               defendant or defendant's property that suffer from adverse impacts
               without specifically identifying those specific sufferings or specific adverse
               impacts, or specific risks of substantial danger or specific injuries, or what
               specific ordinance satisfies which subject generic or general complaint so
               that defendant may identify the alleged violations or if any exist. Plaintiff
               fails to identify with specificity what impacts, risks or harm, will be or could
               be irreparable. Plaintiff fails to identify with specificity what neighbors of
               defendant have experienced rat infestation, caused solely by the
               defendants actions, or inactions, or what neighbors have done to curb
               their own rat infestation, or that an occurrence of expansion of any
               junkyard to the adjacent property has ever taken place, and plaintiff does
               not identify with specificity and conduct or results or property in paragraph
                11, so that defendant may identify the alleged violations or if any exist.
               Jerry Laza specially excepts to Plaintiff's Second Amended Original
                Petition and Request for Temporary and Permanent Injunctions and asks
               the Court to order plaintiff to replead specificity, to give defendant notice
                of the plaintiff claims and cure its pleading defects
         c.    Defendant specially excepts to plaintiff's petition because it merely
               restates zoning ordinance and does not identify how there is a violation,
               and does not state how the defendant violates the regulation, how it does
               promotes public health, safety, morals, or welfare, and it is unreasonable,
               and it is unconstitutional. The allegations against the defendant are made
               without any supporting facts and are mere conclusions of the pleader.
               Plaintiff therefore fails to sustain the legal burden of showing the absence
               of any facts to support the governing body of the city in passing the
               complained of sections of the city codes in the proper exercise of its police
               power. Of which special exception defendant requests judgment of the
               court.
   ORIGINAL COUNTERCLAIMS
   DEFENDANT JERRY LAZA'S COUNTERCLAIM AND PETITION FOR
   DECLARATORY RELIEF AND INVERSE CONDEMNATION, SEEKING
   DAMAGES AND DEMAND FOR JURY TRIAL

   17.   Paragraphs 1-57 are incorporated herein, in haec verba.
   18.   Without waiving its defenses asserted in the foregoing answer, Laza, as
         Counter-Plaintiff, complains of the City of Palestine, Plaintiff and now
         Counter-Defendant, and for such cause of action alleges by way of counterclaim
         as follows:
   19.   Pursuant to Tex. R. Civ. P. 190.1, counter plaintiff intends to conduct discovery in

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         this case under Level 3.
  20.    At all times mentioned in this petition, counter plaintiff was and is an individual
         residing in Anderson County Texas.
  21.    Counter Defendant City of Palestine, is a home rule municipality located in the
         State of Texas, Anderson County which may be served with process by serving
         Teresa Herrera the City Secretary at City of Palestine, 504 N. Queen Street,
         Palestine, TX 75801 Anderson County, Texas.
   22.   Laza the Counter Plaintiff owns property located in the City of Palestine which is
         the subject of this lawsuit.
   23.   Plaintiff acquired the property on 1998. At that time, the property was
         underdeveloped land, unoccupied and suitable for Laza's use as agreed to by
         the Counter-Plaintiff and the Counter-Defendant, and to be changed to a
         commercial zoning designation, under counter-defendant's zoning and land use
         regulations. Plaintiff acquired the property with the intent of constructing and
         expanding his lawn mower storage and small motor repair facility, all with the
         agreement of the Counter-Defendant.
   24.   The Counter-Plaintiff, is Jerry Laza, by and through his undersigned counsel,
         sues the Counter-Defendants, the City of Palestine, the City Attorney Ronald
         Stutes and the City Administrator Mike Alexander, ultra vires acts, and for
         injunctive relief and damages resulting from the Defendants' intentional
         deprivation of the Plaintiff's constitutionally protected rights and the ultra vires
         acts of, the City Attorney Ronald Stutes and the City Administrator Mike
         Alexander.
   25.   This action is brought pursuant to Title 42 Section 1983 of the Code of Laws of
         the United States of America, the Texas Constitution, and Texas's common law
         of contracts and Texas Statutes and their ultra vires conduct.
   26.   The City of Palestine, the City Attorney Ronald Stutes and the City Administrator
         Mike Alexander are acting ultra vires because they do not have an ordinance or
         resolution authorizing their respective actions as required by the laws enacted by
         the City of Palestine, Anderson County Texas and the State of Texas.
   JURISDICTIONAL BASIS OF THE CLAIMS
   27.   This action is brought pursuant to United States Constitution Article 1 Section 10
         and 42 U.S.C.A. § 1983 and claims violations of the Plaintiff's civil rights as
         guaranteed by the Contracts Clause and Fourteenth Amendment to the United
         States Constitution and in violation of the Texas Constitution Art. I, § 17.
   28.   This court has jurisdiction over the claims. This action arises out of the Texas
         Constitution Art. I, § 17 and Counter Plaintiff is citizen of the State of Texas and

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         the Constitution of the United States of America and alleges violations of
         constitutionally protected rights of the Counter-Plaintiff who is a citizen of the
         United States of America, and such Federal Claims are preserved to the United
         States District Court in the Eastern District of Texas, if the claims are not
         satisfactorily adjudicated in the Texas District Court in Anderson County and if
         compensation is not awarded to Counter-Plaintiff Laza.
   29.   The claims brought under the Texas Constitution, common law of contracts and
         statutory law arising from the same operative nucleus of facts and circumstances
         that form part of the same case and controversy.
   30.   All of the actions of the Counter Defendant giving rise to this action substantially
         occurred in Anderson County, Texas.
   31.   The amount in controversy exceeds $600,000; exclusive of statutory entitlement
         to attorney's fees and costs.
   THE PARTIES
   32.   The Counter Plaintiff, Jerry Laza, at all relevant times owned the lots identified on
         Exhibit A attached hereto and incorporated in haec verba. The lots are located in
         the City of Palestine Anderson County Texas.
   33.   The Counter Defendant, City of Palestine, (The City) is a Home Rule City
         empowered by and deriving its authority from the Texas Constitution and Texas
         Statutes and the duly enacted City ordinances.
   Causes of Action
   34.   Paragraphs 1-57 are incorporated herein, in haec verba.
   35.   This cause of action is brought as a result of the City's purposeful and ostensibly
         authorized violations of Laza's rights under Article 1, Section 10 and the Fifth
         Amendment and the Fourteenth Amendment of the United States Constitution,
         and such Federal Claims are preserved to the United States District Court in the
         Eastern District of Texas, if the claims are not satisfactorily adjudicated in the
         Texas District Court in Anderson County and if compensation is not awarded to
         Counter-Plaintiff Laza and are in the alternative to the State Court Claims.
   36.   This cause of action is brought as a result of the City's purposeful and ostensibly
         authorized violations of Laza's rights under The Texas Constitution, Art. I,§ 17.
         The Counter-Defendant continues its violation of Texas Constitution Art. I, § 19
         Sec. 19.
   37.   In 2012, the City adopted ordinances, which changed the future land use
         designation of Laza's property after Laza had been using the property for over 10
         years in a commercial and agricultural manner. The City's legislative action
         unreasonably impaired, altered and extinguished existing terms and its

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          obligations under a agreement with Laza in violation of the contracts clause of
          the Constitution of the United States and The Texas Constitution, Art. I,§ 17. The
          Counter-Defendant continues its violation of Texas Constitution Art. I,§ 19 Sec.
          19.
   38.    This Single-Family Residential land use designation was adopted and continued
          based upon improper pretextual motives and for arbitrary and capricious reasons
          without any rational basis, in violation of due process due process clause of the
          United States Constitution and The Texas Constitution, Art. I, § 17, the Counter-
          Defendant continues its violation of Texas Constitution Art. I,§ 19 Sec. 19.
          Counter-Defendants agreed 20 years ago to change Laza'a zoning to
          commercial. Counter-Defendant has refused to accept Laza's prior use and
          change the zoning of certain parcels to commercial and have prosecuted Laza
          because of his 20 year use of the subject parcels as counter-defendants agreed.
          Even after the criminal prosecution and the acquittal by a jury, 10 years ago; in
          2016, the Counter-Defendant after permitting Laza's use of the parcels as
          commercial and agricultural properties, filed a civil lawsuit to force Laza to
          change his 20 year old use of the property as a commercial use to single family
          residential land, based upon improper pretextual motives and for arbitrary and
          capricious reasons without any rational basis, in violation of due process due
          process clause of the United States Constitution and The Texas Constitution, Art.
          I, § 17, the Counter-Defendant continues its violation of Texas Constitution Art. I,
          § 19 Sec. 19. The Counter-Defendant City through its policy and the ultra vires
          conduct of the City Attorney and the City Administrator, unlawfully frustrated and
          significantly impaired Laza's vested right in having his duly filed zoning change
          applications and other requests heard under the then-existing comprehensive
          plan, which permitted a land use consistent with the Counter-Defendant's prior
          agreement. The Counter-Defendant's combined legislative and quasi-judicial
          actions were ultra vires and caused an unlawful restriction in the use of Laza's
          property and a loss in its value.
    39.   The Counter-Defendant's intentional conduct also caused Laza to be treated
          differently than other similarly situated persons in violation of the equal protection
          clause. These violations were done under the color and authority of state law and
          constitute state action. The aforementioned conduct gives rise to the state claims
          for breach of contract, declaratory relief, and inverse condemnation and in the
          alternative and further preserved to the United States District Court, an unlawful
          taking under the Constitution of the United States and the Constitution of the
          State of Texas. The Counter-Defendant fails and refuses to comply with Sec. 19.
          "No citizen of this State shall be deprived of life, liberty, property, privileges or
          immunities, or in any manner disfranchised, except by the due course of the law
          of the land." Tex. Const. art. I, § 19.
   40.    All conditions precedent have occurred.

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   41.    Defendant requests that plaintiff deliver to defendant requests for disclosure
          pursuant to Tex. R. Civ. P. 194.
   42.    Defendant seeks monetary relief over $200,000 but not more than $1,000,000.
          Tex. R. Civ. P. 47(c)(4).
   Violation of Texas Open Meetings Act
   43.    Paragraphs 1-57 are incorporated herein, in haec verba.
   44.    Defendant, City Administrator, is the city administrator of the City of Palestine,
          Anderson County, Texas. Defendant, Mike Anderson, may be served at the City
          of Palestine, 504 N. Queen Street, Palestine, TX 75801 Anderson County, Texas
          by serving the City Secretary.
   45.    Defendant, John or Jane Does 1-9, City Council Persons, are the Council
          Persons of the City of Palestine, Anderson County, Texas. Defendants, John or
          Jane Does 1-9, may be served at the City of Palestine, 504 N. Queen Street,
          Palestine, TX 75801 Anderson County, Texas by serving the City Secretary.
   46.    This suit is brought against each City Council Person individually and as
          members of the City Council of the City of Palestine Anderson County Texas.
   47.    The City Administrator Mike Alexander under sworn testimony, stated that he
          held meeting with member of the City Council of the City of Palestine, and
          discussed the above captioned and numbered lawsuit as it related to the
          authority of the City Council to pass an ordinance or resolution authorizing the
          subject litigation.
   48.    On any date published in Anderson County there is no meeting notice related to
          a City Council meeting held and posted an agenda of that meeting pursuant to
          Section 551.041 of the Texas Government Code. The posted agenda included
          did not include any notice or agenda related to the above described authority or
          ordinance authorization of the above captioned and numbered lawsuit or the
          authority of the City Attorney or the City Administrator.
    49.   The Texas Open Meetings Act requires written notice of the subject of each
          meeting under Section 551.041 of the Texas Government Code.
    50.   In violation of Section 551.041 of the Texas Government Code, the City Attorney
          and the City Administrator and John Does 1-9, also heard and discussed the
          above captioned and numbered lawsuit at the unnoticed meeting, even though
          this subject was not listed on any posted agenda. Nothing on the posted agenda
          indicated the substance of the presentation made by the City Administrator Mike
          Alexander, which covered discussions concerning the authority and the
          ordinance to prosecute this litigation in the above captioned and numbered
          lawsuit.

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   51.    Counter-Plaintiff has standing to sue the city for violation of the Open Meetings
          Act as an "interested person," in that he is a defendant in the original litigation
          and he is the target of the alleged violation.
   52.    Counter-Plaintiff has a probable right of recovery in this action, in that the
          Counter-Defendants are persons that have unlawfully prosecuted claims against
          the Counter-Plaintiff and violated the Texas Open Meetings Act.
   53.    Counter-Plaintiff has a probable right of recovery in this action, in that the City
          Attorney and in concert with the City Administrator have violated Texas Law and
          caused damages to the Counter-Plaintiff.
   54.    Counter-Plaintiff has no adequate remedy at law other than injunctive relief to
          protect plaintiff from the harm threatened, in that the City of Palestine, intends to
          violate the laws of Texas and the United States, and breach its agreements with
          th Counter-Plaintiff, by failing to honor its agreements, and to refuse to allow the
          operation of the Counter-Plaintiff's business as was agreed 20 years ago.
          Monetary damages will not compensate plaintiff for the harm done by Counter-
          Defendant's actions.
   55.    The court should issue a temporary injunction to preserve the status quo prior to
          the conduct by counter-defendant in violation of the Open Meetings Act;
   56.    On final trial, the temporary injunction should be made permanent;
   57.    Counter-Plaintiff should be awarded attorney fees and costs under Section
          551 .142(b) of the Texas Government Code and under Section 37.009 of the
          Texas Civil Practice and Remedies Code, together with pre-and postjudgment
          interest on those amounts at the legal rate of 5%; and Counter-Plaintiff be
          awarded any other relief to which plaintiff is entitled.
    Prayer
    58.   For these reasons, Defendant requests that the court dismiss this lawsuit, for
          lack of jurisdiction ana lack of authority of plaintiff to prosecute this lawsuit,
          defendant asks the Court to set dismiss plaintiff for failure to replead as to
          special exceptions and, sustain his special exceptions, plea to the jurisdiction and
          order plaintiff to replead and cure its pleading defects and, if plaintiff does not
          cure its defects, strike the defective portions of plaintiff's pleading, and dismiss
          this case as to the claims against the Defendant. To enter judgment for the
          Counter-Plaintiff that his land is use as commercial land and has been for 20
          years, and that the Counter-Defendant has breached its agreements with
          Counter-Plaintiff and has unlawfully taken Laza's land by applying zoning
          ordinances to land in the City of Palestine, that reduces the value of the subject
          land, and applies these laws against the Counter-Plaintiff and not to others and
          treats Laza in a unlawful and disparate manner, in violation of the Texas and

    DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
    LAZA'S SECOND AMENDED COUNTERCLAIM, PRSERVATION OF COUNTERCLAIM, AND PETITION
    FOR RELIEF AND INVERSE CONDEMNATION AND VIOLATION OF TEXAS OPEN MEETINGS ACT,
    SEEKING DAMAGES, ALTERNATIVE DAMAGES AND DEMAND FOR JURY TRIAL Page 11 OF 12
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         United States Constitutions. Award Counter-Plaintiff attorney's fee in the amount
         of $100,000. And if an appeal is filed to the Court of Appeals, attorney's fees in
         the amount of $150,000, and if an appeal to the Texas Supreme Court attorney's
         fees in the amount $200,000.

   Respectfully submitted, MOSSER LAW PLLC
   By: /s/ James C. Mosser
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   CERTIFICATE OF SERVICE
   I certify that on August 21, 2017, a true and correct copy of this document was served
   on James Hankins attorney for the City of Palestine electronically through the electronic
   filing manager under Tex. R. Civ. P. 21 and 21 a.
   Is/ James C. Mosser
   James C. Mosser




    DEFENDANT JERRY LAZA'S FIFTH AMENDED ORIGINAL ANSWER AND DEFENDANT JERRY
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    SEEKING DAMAGES, ALTERNATIVE DAMAGES AND DEMAND FOR JURY TRIAL Page 12 OF 12
